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                    UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF CONNECTICUT
                          BRIDGEPORT DIVISION
                                      x
                                      :  CHAPTER 11
In re:                                :
                                      :  Case No. 22-50073 (JAM) Jointly
HON WO KWOK, et al.                   :
                                      :  Administered
                Debtors.1             :
                                      X  RE: ECF No. 1118
    ORDER, PURSUANT TO 28 U.S.C. § 1452 AND BANKRUPTCY RULES 9006(b) AND
    9027, EXTENDING TRUSTEE’S DEADLINE FOR REMOVAL OF CIVIL ACTIONS

        Upon the motion (the “Motion”)2 of Mr. Luc A. Despins, in his capacity as the chapter 11

trustee (the “Trustee”) appointed in the chapter 11 case of Ho Wan Kwok (the “Debtor”), for the

entry of an order (this “Order”), pursuant to 28 U.S.C. § 1452 and Bankruptcy Rules 9006(b) and

9027, extending the Removal Deadline for a period of 120 days, from the current deadline of

December 6, 2022 through and including April 5, 2023; and this Court having jurisdiction to

consider the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334

and the Standing Order of Reference from the United States District Court for the District of

Connecticut (as amended); and consideration of the Motion and the relief requested therein being

a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper in this Court pursuant

to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in the Motion

is in the best interest of the Estate, its creditors, and all parties in interest; and due and sufficient

notice of the Motion having been given under the particular circumstances; and it appearing that

no other or further notice need be given; and upon all of the proceedings had before this Court;


1
  The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595) and Genever Holdings
Corporation. The mailing address for the Trustee and the Genever (BVI) Debtor is Paul Hastings LLP, 200 Park
Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes
of notices and communications).
2
  Capitalized terms used but not otherwise defined in this Order have the meanings ascribed to them in the Motion.
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and any objections to the relief requested herein having been withdrawn or overruled on the merits;

and after due deliberation and sufficient cause appearing therefor, it is hereby ORDERED THAT:

        1.     The Motion is granted as set forth herein.

        2.     All objections to entry of this Order, to the extent not withdrawn or otherwise

resolved, are overruled.

        3.     The Removal Deadline is extended by 120 days, through and including April 5,

2023.

        4.     The Trustee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

        5.     This Order is without prejudice to (a) any position the Trustee may take on whether

section 362 of the Bankruptcy Code stays any litigation pending against the Debtor, and (b) the

Trustee’s right to seek further extensions of the Removal Deadline.

        6.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

             Dated at Bridgeport, Connecticut this 23rd day of November, 2022.
